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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA

JEREMY B. HALES,                      :                 Civil Action No.:
                                      :                 1:24-CV-00045-AW-ZCB
           Plaintiff,                 :
     v.                               :
                                      :
LYNETTE MICHELLE LACEY ALEXIS PRESTON :
and                                   :
JOHN COOK,                            :
                                      :
           Defendants                 :


                WITHDRAWAL OF COUNSEL and REQUEST FOR STAY

       The undersigned has been discharged as counsel by defendants Lynette (Michelle)
Preston and John Cook.
       In accordance with Florida Rule of Professional Conduct 4-1.16(a)(3), the
undersigned withdraws his appearance.
       To enable defendants Preston and Cook to apply for or hire counsel, and on their
behalf, the undersigned respectfully requests a stay in the discretion of the Court.


          /s/ Bruce Matzkin
          51 Pleasant Street, # 72
          Malden, MA 02148
          Brucematzkin1@gmail.com


                                        CERTIFICATION

         I hereby certify that on April 3, 2025, a copy of the foregoing was emailed to
   counsel of record for the plaintiff:

   Randall Shochet, Esq
   Shochet Law Group
   Attorneys for Jeremy B. Hales
   rshochet@shochetlaw.com

          /s/ Bruce Matzkin
